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 7   [Additional Counsel Listed on Signature Page]

 8
                             UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
10
                                 SAN FRANCISCO DIVISION
11

12   IN RE: CATHODE RAY TUBE (CRT)                Master File No. CV-07-5944-SC
     ANTITRUST LITIGATION
13                                                MDL No. 1917

14                                                MEMORANDUM OF POINTS AND
                                                  AUTHORITIES IN SUPPORT OF
15                                                MOTION OF INDIRECT-PURCHASER
     This Document Relates to:                    PLAINTIFFS FOR CLASS
16                                                CERTIFICATION___________________
     ALL INDIRECT-PURCHASER ACTIONS
17                                                Date: TBD
                                                  Time: TBD
18                                                Before: Hon. Charles A. Legge (Ret.)
                                                          Special Master
19
                                                  The Honorable Samuel Conti
20

21

22                      REDACTED PER COURT ORDER (D.E. 1512)

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       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF INDIRECT-
      PURCHASER PLAINTIFFS FOR CLASS CERTIFICATION — MASTER FILE NO. CV-07-5944-SC,
                                     MDL NO. 1917
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                                      APPENDIX A

                  In Re: Cathode Ray Tube (CRT) Antitrust Litigation

              Proposed Indirect-Purchaser Plaintiff Class Representatives

States            Plaintiffs                  CRT Products On Which Plaintiffs Base
                                              Their Claims
Arizona           Brian Luscher               Philips television
California        Steven Ganz                 Philips television; Toshiba television
California        Jeffrey Figone              Sharp television; Panasonic television
District of       Lawyer’s Choice Suites,     Dell monitor
Columbia          Inc.*
Florida           David Rooks*                Panasonic television
Hawaii            Daniel Riebow               Panasonic television
Iowa              Travis Burau                TruTech television
Kansas            Southern Office Supply,     Ten monitors
                  Inc.
Maine             Kerry Lee Hall              Sears television
Michigan          Lisa Reynolds               Three JVC televisions
Minnesota         Barry Kushner               Philips Magnavox television; Toshiba
                                              television
Minnesota         David Norby                 Magnavox television
Mississippi       Charles Jenkins             Durabrand television; Packard Bell monitor
Nebraska          Steven Fink**               Toshiba television
Nevada            Gloria Comeaux*             Sanyo television
New Mexico        Craig Stephenson            MAG Technology monitor
New York          Janet Ackerman              Toshiba television
New York          Louise Wood*                Toshiba television
North Carolina    Patricia Andrews*           Toshiba television
North Dakota      Gary Hanson                 Two RCA televisions; Toshiba television;
                                              two Dell monitors
South Dakota      Jeffrey Speaect*            Toshiba television
Tennessee         Frank Warner                Six monitors
Tennessee         Albert Sidney Crigler       Sharp television; Gateway monitor
Vermont           Margaret Slagle             Sylvania television; Magnavox television
West Virginia     John Larch                  Curtis Mathes television
Wisconsin         Brigid Terry                Toshiba television

*Indicates person or entity not named in Indirect Purchaser Plaintiffs’ Third Consolidated
Amended Complaint but whom the Special Master Judge Legge, in his August 2, 2012
Report and Recommendation Re: Indirect Purchaser Plaintiffs’ Motion for Leave to
Amend the Complaint (Dkt. 1286), has recommended may be added to an amended
complaint.

** Indirect Purchaser Plaintiffs have requested that the Special Master Judge Legge
modify his August 2, 2012 Report and Recommendation to permit Steven Fink to be
added to an amended complaint and serve as the Nebraska class representative.
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                                            A-1
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                                   APPENDIX B

                 In re: Cathode Ray Tube (CRT) Antitrust Litigation

                                  State Law Claims

State                 Antitrust              Consumer           Unjust Enrichment
                                             Protection
Arizona                   X                                            X
California                X                      X                     X
D.C.                      X                      X                     X
Florida                                          X
Hawaii                    X                      X
Iowa                      X                                            X
Kansas                    X
Maine                     X                                            X
Michigan                  X                                            X
Minnesota                 X
Mississippi               X
Nebraska                  X                      X
Nevada                    X
New Mexico                X                      X                     X
New York                  X                      X
North Carolina            X                      X
North Dakota              X
South Dakota              X                                            X
Tennessee                 X
Vermont                   X                      X
West Virginia             X
Wisconsin                 X




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                                                 APPENDIX C

                               In re: Cathode Ray Tube (CRT) Antitrust Litigation

                  Indirect-Purchaser Litigated (Non-Settlement) Class Certification Decisions


State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
AZ        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27 Estrogen        Arizona class certified
                   (S.D. Ohio June 30, 2004) Attached as Exhibit 1 to           replacement
                   accompanying “Request for Judicial Notice” (“RJN”).          products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8 Estrogen         Arizona class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products
          CP       “Order” (Nov. 14, 2000) in Friedman v. Microsoft Corp.,      Computer      Arizona class certified
                   No. CV 2000-000722, minute order at 2 (Ariz. Super. Ct.,     Software
                   Maricopa Cty.) RJN Exhibit 3.
          AT       In re Relafen Antitrust Litig., 221 F.R.D. 260, 278-84 (D.   Drugs         Arizona among exemplar
                   Mass. 2004)                                                                classes certified
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including Arizona
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Arizona
                   3268649 (N.D. Cal. July 28, 2011)
CA        AT       “Order Granting Motion For Motion For Class                  Gasoline      California class certified
                   Certification” in Aguilar v. Atlantic Richfield Corp., 1998-
                   1 Trade Cas. (CCH) ¶72,080 at 81,495, 81,497 (Cal. Super.
                   Ct., San Diego Cty., May 1, 1997) RJN Exhibit 4.
          AT       B.W.I. Custom Kitchen, Inc. v. Owens-Illinois, 191 Cal.      Glass         Reversed decision denying
                   App. 3d 1341, 1355 (1987)                                    containers    certification




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State   Type of                                                                  Product       Ruling
        Claim      Case Authority                                                Involved
        AT, CP     “Order Granting Motion of Plaintiffs For Class                Automotive    California end-user, reseller
                   Certification” (June 17, 2004) in In re Automotive            refinishing   classes certified
                   Refinishing Paint Cases, No. J.C.C.P. 4199 at 1 (Cal.         paint
                   Super. Ct., Alameda Cty.) RJN Exhibit 5.
        AT, CP     In re Cipro Cases I and II, 121 Cal. App. 4th 402, 418        Drugs         Certification of California
                   (2004)                                                                      class affirmed
          CP       In re Pharm. Indus. Average Wholesale Price                   Various       California co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)                drugs         certified
        AT, CP     “Order Granting Plaintiffs’ Motion for Class Certification”   Gasoline      California class certified
                   (March 27, 2007) in In re Reformulated Gasoline (RFG)
                   Antitrust & Patent Litig., No. CV-05-01671 (VBKx) at 25
                   (C.D. Cal.) RJN Exhibit 6.
        AT, CP     In re Relafen Antitrust Litig., 221 F.R.D. 260, 288 (D.       Drugs         California among exemplar
                   Mass. 2004)                                                                 classes certified
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.    Drugs         California class certified
                   672, 702 (S.D. Fla. 2004)
          CP       “Order Re Class Certification” (June 29, 2000) in             Spring        California consumer class
                   Kristensen v. Great Spring Waters of America, No. 302774      water         certified
                   at 1 (Cal. Super. Ct., San Francisco Cty.) RJN Exhibit 7.
          AT       Lethbridge v. Johnson & Johnson, No. B105754 at 24            Disposable    Reversed decision denying
                   (Cal. Ct. App. Nov. 10, 1997) (unpublished), RJN Exhibit      contact       certification
                   8.                                                            lenses
        AT, CP     “Order Re Class Certification” in Microsoft I-V Cases,        Computer      California class certified
                   2000-2 Trade Cas. (CCH) ¶73,013 at 88,555, 88,565 (Cal.       Software
                   Super. Ct., San Francisco Cty., Aug. 29, 2000) RJN
                   Exhibit 9.
        CP, AT     “Orders” of June 26 & Aug. 16, 1995 in Pharmaceutical         Drugs         California class certified
                   Cases I, II, and III, J.C.C.P. Nos. 2969, 2971 & 2972 at 1-
                   3, 1-3 (Cal. Super. Ct., San Francisco Cty.) RJN Exhibit
                   10.
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,           CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                         including California


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State   Type of                                                                 Product        Ruling
        Claim      Case Authority                                               Involved
          AT       Rosack v. Volvo of America Corp., 131 Cal. App. 3d 741,      Autos          Reversed decision denying
                   763 (1982), cert. denied, 460 U.S. 1012 (1983)                              certification
        AT, CP     “Order Granting Motion For Class Certification” in           Smokeless      California class certified
                   Smokeless Tobacco Cases I-V, J.C.C.P. Nos. 4250, 4258,       Tobacco
                   4259 & 4262 at 2 (Cal. Super. Ct. Jan. 29, 2004) RJN
                   Exhibit 11.
        AT, CP     In re Static Random Access memory (SRAM) Antitrust           Memory         Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips          including California
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels     Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                       including California
                   3268649 (N.D. Cal. July 28, 2011)
DC        AT       Goda v. Abbott Labs., 1997 WL 156541, at *10 (D.C.           Prescription   District of Columbia class
                   Super. Ct. 1997)                                             Drugs          certified
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462, 1996     CDs            Multi-state classes certified,
                   WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                              including the District of
                                                                                               Columbia
        AT, CP     In re Static Random Access memory (SRAM) Antitrust           Memory         Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips          including District of Columbia
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels     Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                       including District of Columbia
                   3268649 (N.D. Cal. July 28, 2011)
FL        CP       Execu-Tech Bus. Sys., Inc. v. Appleton Papers, Inc., 743     Thermal fax    Certification of Florida class
                   So. 2d 19, 22 (Fla. Dist. Ct. App. 1999)                     paper          affirmed
          CP       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen       Florida consumer class
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement    certified
                                                                                products
          AT       In re Fla. Microsoft Antitrust Litig., No. 99-27340, 2002    Computer       Florida class certified
                   WL 31423620, at *19 (Fla. Cir. Ct. Aug. 26, 2002)            software
          CP       In re Pharm. Indus. Average Wholesale Price                  Various        Florida co-payor class certified
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               drugs
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs          Florida class certified
                   672, 702 (S.D. Fla. 2004)


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State   Type of                                                                 Product        Ruling
        Claim      Case Authority                                               Involved
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs            Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                         including Florida
          CP       In re Static Random Access memory (SRAM) Antitrust           Memory         Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips          including Florida
          CP       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels     Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                       including Florida
                   3268649 (N.D. Cal. July 28, 2011)
HI        CP       Daly v. Harris, 209 F.R.D. 180, 201 (D. Haw. 2002)           Beach          Hawaii subclass (consisting of
                                                                                entrance fee   “non-residents of Hawaii who
                                                                                               paid $3.00 to access the public
                                                                                               beach) certified
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory         Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips          including Hawaii
          CP       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels     Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                       including Hawaii
                   3268649 (N.D. Cal. July 28, 2011)
IA        AT       “Ruling on Plaintiff’s Motion for Class Certification”       Synthetic      Iowa class certified
                   (March 19, 2007) in Anderson Contr., Inc. v. Bayer AG,       rubber
                   No. CL 95959 at 22 (Iowa Dist. Ct., Polk Cty.) RJN           (“EPDM”)
                   Exhibit 12.
          AT       Comes v. Microsoft Corp., 696 N.W.2d 318, 323, 327           Computer       Iowa class certified
                   (Iowa 2005)                                                  software
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen       Iowa class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory         Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips          including Iowa
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels     Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                       including Iowa
                   3268649 (N.D. Cal. July 28, 2011)
KS      AT, CP     Bellinder v. Microsoft Corp., No. 00-C-0855, 2001 WL         Computer       Kansas class certified
                   1397995, at *8 (Kan. Dist. Ct. Sept. 7, 2001)                software

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State   Type of                                                               Product        Ruling
        Claim      Case Authority                                             Involved
          AT       “Order Of Class Certification” (Nov. 3, 1995) in Donelan   Infant         Kansas class certified
                   v. Abbott Labs., Inc., No. 94-C-709 at 2-3 (Kan. Dist. Ct.)formula
                   RJN Exhibit 13.
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27 Estrogen       Kansas class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                    replacement
                                                                               products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8 Estrogen        Kansas class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                     replacement
                                                                               products
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. Drugs          Kansas class certified
                   672, 702 (S.D. Fla. 2004)
          AT       “Memorandum Decision And Journal Entry On Plaintiffs’ Methionine          Kansas class certified
                   Motion For Class Certification” (May 4, 2004) in Premier
                   Pork, Inc. v. Rhone Poulenc, S.A., No. 00 C 3 at 9 (Kansas
                   Dist. Ct.) RJN Exhibit 14.
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462, 1996 CDs              Multi-state classes certified,
                   WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                            including Kansas
          AT       “Journal Entry Of Decision By The Court Upon Plaintiffs’ Cigarettes       Kansas class certified
                   Motion For Class Certification” (Nov. 16, 2001) in Smith
                   v. Philip Morris Cos., Inc., No. 00-CV-26 at 10 (Kan. Dist.
                   Ct.) RJN Exhibit 15.
          AT       “Journal Entry” (Mar. 10, 2006) in Todd v. F. Hoffman-La Choline          Kansas class certified
                   Roche, Ltd., No. 98-C-4574 at 8 (Kan. Dist. Ct.) RJN        chloride
                   Exhibit 16.
        AT, CP     In re Static Random Access memory (SRAM) Antitrust          Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)             chips         including Kansas
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.     LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                     including Kansas
                   3268649 (N.D. Cal. July 28, 2011)
ME        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27 Estrogen       Maine class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                    replacement
                                                                               products


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State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      Maine class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including Maine
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         Maine class certified
                   672, 702 (S.D. Fla. 2004)
        AT, CP     In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including Maine
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Maine
                   3268649 (N.D. Cal. July 28, 2011)
MI        AT       In re Pharm. Indus. Average Wholesale Price Litig., 233      Various       Michigan co-payor class
                   F.R.D. 229, 230-31 (D. Mass. 2006)                           drugs         certified
          AT       In re Terazosin Hydrochloride                                Drugs         Michigan class certified
                   Antitrust Litig., 220 F.R.D. 672, 702 (S.D. Fla. 2004)
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including Michigan
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including Michigan
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Michigan
                   3268649 (N.D. Cal. July 28, 2011)
MN        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      Minnesota class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       Gordon v. Microsoft Corp., No. 00-594, 2001 WL 366432,       Computer      Minnesota class certified
                   at *13 (Minn. Dist. Ct. March 30, 2001), interlocutory       software
                   review denied, 645 N.W.2d 393 (Minn. 2002) and 2003
                   WL 23105552, at *10 (Minn. Dist. Ct. March 14, 2003)
          CP       In re Pharm. Indus. Average Wholesale Price Litig., 233      Various       Minnesota co-payor class
                   F.R.D. 229, 230-31 (D. Mass. 2006)                           drugs         certified


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State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         Minnesota class certified
                   672, 702 (S.D. Fla. 2004)
          AT       Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including Minnesota
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including Minnesota
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Minnesota
                   3268649 (N.D. Cal. July 28, 2011)
MS        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      Mississippi class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      Mississippi class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         Mississippi class certified
                   672, 702 (S.D. Fla. 2004)
          AT       Robinson v. EMI Music Dist., Inc., Civ. No. L10462, 1996     CDs           Multi-state classes certified,
                   WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                             including Mississippi
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Mississippi
                   3268649 (N.D. Cal. July 28, 2011)
NV        CP       Ferrell v. Wyeth Ayerst Labs, No. C 1 0l 447, Order at 27    Estrogen      Nevada consumer class
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement   certified
                                                                                products
          CP       Ferrell v. Wyeth Ayerst Labs, No. C l 01 447, Order at 8     Estrogen      Nevada consumer class
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement   certified
                                                                                products
          CP       In re Pharm. Indus. Average Wholesale Price                  Various       Nevada co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               Drugs         certified
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         Nevada class certified
                   672, 702 (S.D. Fla. 2004)


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State   Type of                                                              Product        Ruling
        Claim      Case Authority                                            Involved
          AT       In re Static Random Access memory (SRAM) Antitrust        Memory         Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)           chips          including Nevada
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.   LCD panels     Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                    including Nevada
                   3268649 (N.D. Cal. July 28, 2011)
NM        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27 Estrogen      New Mexico class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                   replacement
                                                                              products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8 Estrogen       New Mexico class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                    replacement
                                                                              products
          AT       “Decision And Order On Motion For Class Certification”     Computer      New Mexico class certified
                   (Oct. 2, 2002) in In re New Mexico Indirect Purchasers     software
                   Microsoft Antitrust Litig., No. D-0101-CV-2000 (1st
                   Judicial Dist.), RJN Exhibit 17; see In re New Mexico
                   Indirect Purchasers Microsoft Corp. Antitrust Litig., 149
                   P.3d 976, 983-84 (N.M. Ct. App. 2006)
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. Drugs         New Mexico class certified
                   672, 702 (S.D. Fla. 2004)
          AT       Robinson v. EMI Music Dist., Inc., Civ. No. L10462, 1996 CDs             Multi-state classes certified,
                   WL 495551, at **1, 5 (Tenn. Cir. Ct. July 8, 1996)                       including New Mexico
          AT       Romero v. Philip Morris Inc., 109 P.3d 768, 770-71, 795    Cigarettes    New Mexico class certified
                   (N.M. Ct. App. 2005)
          CP       In re Pharm. Indus. Average Wholesale Price Litig., 233    Various       New Mexico class certified
                   F.R.D. 229, 230-31 (D. Mass. 2006)                         drugs
          AT       In re Static Random Access memory (SRAM) Antitrust         Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)            chips         including New Mexico
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.    LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                    including New Mexico
                   3268649 (N.D. Cal. July 28, 2011)




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State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
NY        CP       Cox v. Microsoft Corp., 10 Misc. 3d 1055(A), 809             Computer      New York class certified
                   N.Y.S.2d 480, 2005 WL 3288130, at *6 (N.Y. Sup. Ct.          software
                   2005)
          CP       Drizin v. Sprint Corp., 785 N.Y.S.2d 428, 429 (N.Y. App.     Phone         New York class alleging Gen.
                   Div. Nov. 16, 2004)                                          charges       Bus. Law § 349 and common
                                                                                              law fraud claims certified
          CP       In re Pharm. Indus. Average Wholesale Price                  Various       New York co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               drugs         certified
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         New York class certified
                   672, 702 (S.D. Fla. 2004)
        AT, CP     In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including New York
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including New York
                   3268649 (N.D. Cal. July 28, 2011)
NC        AT       In re Pharm. Indus. Average Wholesale Price Litig., 233      Drugs         North Carolina co-payor class
                   F.R D. 229, 230-31 (D. Mass. 2006)                                         certified
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         North Carolina class certified
                   672, 702 (S.D. Fla. 2004)
        AT, CP     In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including North Carolina
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including North Carolina
                   3268649 (N.D. Cal. July 28, 2011)
ND        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      North Dakota class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      North Dakota class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products
          AT       In re Terazosin Hydrochloride                                Drugs         North Dakota class certified
                   Antitrust Litig., 220 F.R.D. 672, 702 (S.D. Fla. 2004)


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State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
          CP       In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 540    Drugs         Certification of North Dakota
                   (3d Cir. 2004)                                                             class affirmed
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including North Dakota
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including North Dakota
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including North Dakota
                   3268649 (N.D. Cal. July 28, 2011)
SD        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      South Dakota class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      South Dakota class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products
          AT       “Order Granting Class Certification” (Nov. 21, 1995) in      Infant        South Dakota class certified
                   Hagemann v. Abbott Labs., Inc., No. 94-221 (S.D. Cir. Ct.,   formula
                   Hughes Cty.) RJN Exhibit 18.
          CP       In re Pharm. Indus. Average Wholesale Price                  Various       South Dakota co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               drugs         certified
          AT       In re S.D. Microsoft Antitrust Litig., 657 N.W.2d 668, 672   Computer      Certification of South Dakota
                   (S.D. 2003)                                                  software      class affirmed
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         South Dakota class certified
                   672, 702 (S.D. Fla. 2004)
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including South Dakota
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including South Dakota
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including South Dakota
                   3268649 (N.D. Cal. July 28, 2011)



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State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
TN        CP       In re Pharm. Indus. Average Wholesale Price                  Various       Tennessee co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               drugs         certified
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including Tennessee
          AT       “Memorandum and Order” (Dec. 20, 2002) in Sherwood v.        Computer      Tennessee class certified
                   Microsoft Corp., No. 99C-5362 at 21 (Tenn. Cir. Ct.,         software
                   Davidson Cty.) RJN Exhibit 19.
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including Tennessee
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Tennessee
                   3268649 (N.D. Cal. July 28, 2011)
VT        CP       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      Vermont consumer class
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement   certified
                                                                                products
          CP       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      Vermont consumer class
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement   certified
                                                                                products
          CP       In re Pharm. Indus. Average Wholesale Price                  Various       Vermont co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               drugs         certified
          CP       In re Pharmaceutical Industry Average Wholesale Price        Drugs         Vermont consumer and third
                   Litig., 252 F.R.D. 83, 109 (D. Mass. 2008)                                 party payor class certified
        AT, CP     In re Relafen Antitrust Litig., 221 F.R.D. 260, 288 (D.      Drugs         Vermont among exemplar
                   Mass. 2004)                                                                classes certified
        AT, CP     In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including Vermont
                   3268649 (N.D. Cal. July 28, 2011)
WV        AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      West Virginia class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      West Virginia class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products

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State   Type of                                                                 Product       Ruling
        Claim      Case Authority                                               Involved
        AT, CP     In re Relafen Antitrust Litig., 221 F.R.D. 260, 288 (D.      Drugs         West Virginia among exemplar
                   Mass. 2004)                                                                classes certified
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         West Virginia class certified
                   672, 702 (S.D. Fla. 2004)
        AT, CP     Robinson v. EMI Music Dist., Inc., Civ. No. L10462,          CDs           Multi-state classes certified,
                   1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                        including West Virginia
          AT       In re Static Random Access memory (SRAM) Antitrust           Memory        Multi-state classes certified,
                   Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)              chips         including West Virginia
          AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.      LCD panels    Multi-state classes certified,
                   583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                      including West Virginia
                   3268649 (N.D. Cal. July 28, 2011)
WI        AT       “Order Certifying Class Action” (July 25, 2001) in Capp v.   Computer      Wisconsin class certified
                   Microsoft Corp., No. 00 CV 0637 at 1 (Wis. Cir. Ct., Dane    software
                   Cty.) RJN Exhibit 20.
          AT       “Order” (March 23, 1995) in Carlson v. Abbott Labs., Inc.    Infant        Wisconsin class certified
                   No. 94-CV-002608 at 2 (Wis. Cir. Ct., Milwaukee Cty.)        formula
                   RJN Exhibit 21.
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 27   Estrogen      Wisconsin class certified
                   (S.D. Ohio June 30, 2004) RJN Exhibit 1.                     replacement
                                                                                products
          AT       Ferrell v. Wyeth-Ayerst Labs., No. C-1-01-447, Order at 8    Estrogen      Wisconsin class certified
                   (S.D. Ohio Feb. 2, 2005) RJN Exhibit 2.                      replacement
                                                                                products
          AT       “Decision And Order Granting Plaintiffs’ Motion For          Smokeless     Wisconsin class certified
                   Class Certification” (May 10, 2004) in Feuerabend v. UST     tobacco
                   Corp., No. 2002 CV 007124 at 15 (Wis. Cir. Ct.,
                   Milwaukee Cty.) RJN Exhibit 22.
          CP       In re Pharm. Indus. Average Wholesale Price                  Various       Wisconsin co-payor class
                   Litig., 233 F.R D. 229, 230-31 (D. Mass. 2006)               drugs         certified
          AT       In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D.   Drugs         Wisconsin class certified
                   672, 702 (S.D. Fla. 2004)
          AT       K-S Pharmacies, Inc. v. Abbott Laboratories, 1996 WL         Drugs         Wisconsin class certified
                   33323859, at *13 (Wis. Cir. Ct. May 17, 1996)

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State        Type of                                                              Product      Ruling
             Claim      Case Authority                                            Involved
               CP       Robinson v. EMI Music Dist., Inc., Civ. No. L10462,       CDs          Multi-state classes certified,
                        1996 WL 495551, at *5 (Tenn. Cir. Ct. July 8, 1996)                    including Wisconsin
               AT       In re Static Random Access memory (SRAM) Antitrust        Memory       Multi-state classes certified,
                        Litig., 264 F.R.D. 603, 617-22 (N.D. Cal. 2009)           chips        including Wisconsin
               AT       In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D.   LCD panels   Multi-state classes certified,
                        583, 608-13 (N.D. Cal. 2010), amended in part,2011 WL                  including Wisconsin
                        3268649 (N.D. Cal. July 28, 2011)




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